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                           Exhibit E to Declaration
                           of Jean-Claude Mazzola
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-60125-CIV-SCOLA/GOODMAN

    JIANGMEN BENLIDA PRINTED
    CIRCUIT CO., LTD., et al.

    Plaintiffs,

    v.

    CIRCUITRONIX LLC,

    Defendant,
    ____________________________________/


                  Benlida’s Responses to Circuitronix’s Interrogatories

    1.      State the accounting methodology or methodologies you used for your business with
            Circuitronix, LLC between January 1, 2016 to January 1, 2021, such as “FIFO” (first in,
            first out), “LIFO” (last in, first out), and the period of time during which each such
            methodology was used.

            Answer: Benlida has always used FIFO, and has applied current payments to past
            due invoices, thereby reducing the Circuitronix (US and HK) A/R from the earliest
            periods. Since prepayment commenced, however, the premiums added on to the
            purchases and the prepayment for the unshipped products have been applied to pay
            down past debt on a FIFO basis.

    2.      Explain in detail how the amount you claim in Paragraph 437 of the Third Amended
            Complaint that Circuitronix, LLC owes for “price increases” ($2,115,927.57) was
            calculated.


            Answer: Benlida and Circuitronix met on December 14, 2016. At the meeting, CTX
            agreed to pay increasing prices on shipments that started from March 2017. (The
            logic of calculation was fixed in the meeting minutes.) Until September 2019, BLD’s
            calculation result is US$2,115,927.57. This calculation was set forth in a spread sheet
            sent by Tracy Huang to Rishi Kukreja, with amount of US$3,336,902.28. This
            number was brought down due to FIFO to US$2.11 million before litigation was
            commenced. VAT of CCL in Benlida records support this number.




                                                    1
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    3.     Explain in detail how the amount you claim in Paragraph 437 of the Third Amended
           Complaint as “the invoiced amount” ($11,539,408.36) was calculated.

           Answer:

                                                 Currency: USD
                           Cutoff Date               May 31st, 2023
                      Shipment Amount
                     Through Cutoff Date          US$156,031,184.88
                       Payment Amount
                                                  US$140,303,257.65
                     Through Cutoff Date
                     Debit notes BLD/ROK
                                                    US$4,188,518.87
                            Confirm 1
                       Balance Amount              US$11,539,408.36
                     Per agreement, not recognized as payment for shipments is
                     U$742,000 which is out of payment amount on above sheet.
                                          ITEM                            AMOUNT
                     BLD received OSP chemical payment                US$235,000.00
                     ROK received OSP chemical payment                US$142,000.00
                     BLD received Immersion tin investment
                                                                      US$80,000.00
                     payment
                     ROK received Immersion tin investment
                                                                      US$60,000.00
                     payment
                     BLD received fit up cost                         US$25,000.00
                     wire transfer by Tracy                           US$200,000.00
                     TOTAL                                            US$742,000.00



    4.     In Paragraph 443 of the Third Amended Complaint, you allege that “Circuitroinix failed
           to make full payment for such goods.” With respect to this allegation, identify any
           invoice as to which BLD alleges partial payment was received.

           Answer: Through the end of May 2020, partial payment US$11,569.69 was received
           on INV# BLDCCT-HK181218001.




    1
     Benlida / ROK did not agree to all of the debit notes that Circuitronix sent. Lead time penalties
    and air freight claims were and are in dispute.



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    5.    State the key facts which, in your view, support your allegation in Paragraph 444 of the
          Third Amended Complaint that the “lead-time penalty” discussed was “unconsented-to,”
          including the date, location and participants at any meeting and/or written
          communications evidencing your lack of consent to lead-time penalties.

          Answer: In an email sent by Tracy Huang to Rishi Kukreja on November 13/14,
          2019, entitled “Lead Time Penalty for Benlida for May 2019 --Benlida feedback,”
          Ms. Huang stated clearly that Benlida did not agree to the lead-time penalty amount
          claimed by Circuitronix. In the email Ms. Huang also included several attachments
          setting forth the parties’ calculations / agreements for the period of September 2015
          to October 2017.



    6.    To the extent you agree that you incurred any lead-time penalties as of the date that, as
          you allege in Paragraph 444 of the Third Amended Complaint, “Defendant Circuitronix
          alleged that … Benlida owed it a total of $6,561,044.21,” state the amount of lead-time
          penalties that had accrued as of that date by your own calculations.

          Answer: Using the logic mentioned above, the amount of lead-time penalties that
          had accrued was US$1,133,106 as to the order period of February 2016 to May
          2019.


    7.    With respect to your allegation in Paragraph 455 of the Third Amended Complaint that
          “Defendant Circuitronix has failed to remit payment of the debt although it has been in
          possession of the invoices,” identify whether the allegation refers to all of the invoices in
          the Third Amended Complaint or, if a subset of the invoices, the paragraph numbers of
          the Third Amended Complaint that comprise that subset.

          Answer: Through the end of May 2020, and based upon the FIFO method set forth
          in answer to question 1, the invoices stated in the Third Amended Complaint
          remain unpaid.




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    8.    Identify who served as the primary points of contact at Benlida and at Sinosure between
          those two companies, between January 1, 2016 and the present, concerning business with
          Circuitronix, LLC, and provide those individuals’ mailing addresses, email addresses,
          and telephone numbers. For the Benlida employees, state whether they are still employed
          with Benlida (or ROK Printed Circuit Co. Ltd.), and if not, provide their last known
          contact information.

          Answer: Benlida’s main contact with Sinosure was Ms. Chen Zhanjiao,
          accounting@benlida.com, 86-750-3962065. Ms. Chen is still employed by Benlida.

          Sinosure’s main current contact with Benlida is Lyndon Liu （刘卓麟）, China
          Export & Credit Insurance Corportaion Guangdong Branch Indemnity &
          Collection Department, Collection Office, Vice Manager, Phone: 13533039891,
          liuzhuolin@sinosure.com.cn (Note: the prior Sinosure contact is no longer employed
          by Sinosure, and the address and other contact information for the former employee
          is unknown).




    9.    With respect to each contract or agreement that you had with Sinosure between January
          1, 2016 to the present that applied or applies to your business with Circuitronix, LLC,
          identify the provision or provisions that you were relying upon when you insisted that
          Circuitronix, LLC make a 120% prepayment of the order value before you would release
          the orders.

          Answer: Please refer to email “2020.02.24回复_ 赔后溢价出货申请.eml”. Sinosure
          required minimum 10% premium of shipment amount.




    10.   Identify all communications you had with Sinosure between January 1, 2016 to the
          present in which you informed Sinosure that Circuitronix, LLC was indebted to you.

          Answer: (refer to September 18, 2019 email:
          “两厂自合作至2019.08应收CCT余额（扣款按所有扣款单金额）(2)(1).eml” Upon
          information and belief, all email communications between Benlida and Sinosure
          have been disclosed).




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    11.   Identify all communications you had with any bank or other financial institution between
          January 1, 2016 to the present concerning the subject of any debt you owe or owed
          Circuitronix, LLC or any debt Circuitronix, LLC owed or owes you.

          Answer: Benlida does not include Sinosure in response to this question. While
          Benlida did report to banks and financial institutions debts generally owed to
          Benlida, it did not make any representations to any banks or financial institutions
          about Circuitronix’s debts owed to Benlida.



    12.   Identify all communications involving Huang Xiangjiang, Tracy Huang, Huang Hanchao,
          Yukun Wu, or Chen Zhanjiao, that you had with any of the following companies between
          January 1, 2016 and the present and the subject-matters of the communications:

             a.   Shenzhen Kinwong Electronic Co., Ltd.;
             b.   Kinwong Electronic (Hong Kong) Co., Ltd.
             c.   Super Tech Circuit Board Co., Ltd.;
             d.   Winglung
             e.   Guangdong Kingshine

          Answer: There were no written communications with a-d, but there were oral
          communications with a, b, and e. There were no direct communications, written or
          oral with c or d.

          Topics of communications with a and b: They reached out to Benlida to speak about
          its own litigation with Circuitronix. Douglas Huang and Roger Wu met with them.

          Topic of communications with e: Mr. Huang met with them to discussion market
          conditions for PCBs.



    13.   Identify all communications you had with any Circuitronix Customer (as defined in § 1.5
          of the Manufacturing Agreement) between January 1, 2016 and the present (April 23,
          2022), with the exception of communications related to Customers’ coordinated and
          Circuitronix-authorized site visits to Benlida’s factory.

          Answer: None that Benlida can recall.




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    14.   From the date of the earliest invoice identified in your Third Amended Complaint to July
          1, 2020, state how much money Benlida was paid by Circuitronix, LLC and the start date
          you use for calculating the figure in your answer.


          Answer: Earliest date of invoice is Dec 18, 2018. From December 18 to 23, no
          payment received from Circuitronix US or Circuitronix HKG, so the earliest date of
          payment is December 24, 2018.

                                                         SHIPMENT
                  ITEM         PAYMENT AMOUNT                                  NOTE
                                                          AMOUNT


                                                                          Includes
             CTX-US paid to
                                 US$12,240,285.87      US$10,058,195.91   US$100,000
               BLD+ROK
                                                                          received on
                                                                          OSP chemical
                                                                          payment

            CTX-HKG paid to       US$2,756,127.94       US$6,372,566.07
              BLD+ROK
                TOTAL            US$14,996,413.81      US$16,430,761.98

          Through the end of December 2018, Circuitronix owed Benlida US$10,486,885.95 as
          receivables, with US$5,792,229.02 overdue as of the end of December 2018.




    15.   For the payments you considered in your answer to Interrogatory No. 16, above, identify
          any communications from you to Circuitronix, LLC that explain how that money was
          credited by Benlida.

          Answer: During the above period, monthly statements were sent, and since
          February 2020, the statements have included the payments received during that
          month and the total amount of the receivable.




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    16.   From January 1, 2016 to July 1, 2020, how much money was Benlida paid by
          Circuitronix, LLC?

          Answer:

                              PAYMENT AMOUNT                      SHIPMENT     AMOUNT
                            BLD                ROK                BLD                ROK
     CTX-US PAID
                     US$50,166,450.79    US$21,466,823.05   US$49,556,967.46   US$17,972,275.97
     CTX-HKG PAID                         US$1,360,000.00
                     US$17,039,336.45                       US$26,106,620.62    US$2,084,308.41
     TOTAL
                     US$67,205,787.24    US$22,826,823.05   US$75,663,588.08   US$20,056,584.38
     BLD+ROK
                                         US$90,032,610.29                      US$95,720,172.46
     TOTAL

          Through the end of December 2015, CTX owed BLD US$6,510,527.92 as
          receivables, with $282757.74 overdue as of the end of 2015

          Note:
          1) BLD payment amount includes OSP chemical payment US$235,000
          2) ROK payment amount includes OSP chemical payment US$377,000 + wire
          transfer by Tracy Huang account US$200,000.




    17.   For the payments you considered in your answer to Interrogatory No. 16, above, identify
          any communications from you to Circuitronix, LLC that explain how that money was
          credited by Benlida.

          Answer: During above period, monthly statements were sent. For the months of
          January 2016 to December 2017, emails show the payments received, each month
          and the total amount of receivables. For the months of February 2020 to July 2020,
          emails show the payments received that month and the total amount of receivable.




    18.   Who at Benlida has been responsible for credit insurance between January 1, 2016 and
          the present? Provide those individuals’ mailing addresses, email addresses, and
          telephone numbers.

          Answer: See answer to question 8 above.




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    19.    Identify all notices from the customs authority of China and tax department of China
           between January 1, 2016 and the present received by Benlida and/or ROK Printed Circuit
           Co. Ltd. stating that either company was in default.

           Answer: The tax refunds were withdrawn according to the regulations, but these
           actions were handled by the tax department, and there were no specific notifications
           or certifications for these actions.




    20.    For each claim Benlida made upon China Export & Credit Insurance Corporation (a/k/a
           Sinosure), between 2016 through 2021, for alleged losses arising from Benlida’s business
           with Circuitronix, LLC, identify the amount of money Benlida sought.

           Answer: US$7.144 million.



    Dated: May 17, 2023
           New York, New York


                                                       MAZZOLA LINDSTROM LLP
                                                       Attorneys for Plaintiff Benlida

                                                       By: /s/ Jean-Claude Mazzola
                                                       Jean-Claude Mazzola
                                                       1350 Avenue of the Americas, 2nd Floor
                                                       New York, NY 10019
                                                       646.250.6666
                                                       jeanclaude@mazzolalindstrom.com



    Service via email upon counsel for defendant Circuitronix LLC




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                                      26



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


                          CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD., et al.


   Plaintiffs,                                                [corrected: May 24, 2023]

   v.

   CIRCUITRONIX LLC,

   Defendant,
   ____________________________________/



                 Benlida’s Responses to Circuitronix’s Interrogatories

   1.      State the accounting methodology or methodologies you used for your business with
           Circuitronix, LLC between January 1, 2016 to January 1, 2021, such as “FIFO” (first in,
           first out), “LIFO” (last in, first out), and the period of time during which each such
           methodology was used.


           Answer: Benlida has always used FIFO, and has applied current payments to past
           due invoices, thereby reducing the Circuitronix (US and HK) A/R from the earliest
           periods. Since prepayment commenced, however, the premiums added on to the
           purchases and the prepayment for the unshipped products have been applied to pay
           down past debt on a FIFO basis.


   2.      Explain in detail how the amount you claim in Paragraph 437 of the Third Amended
           Complaint that Circuitronix, LLC owes for “price increases” ($2,115,927.57) was
           calculated.
                                                   1
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                                      26




         Answer: Benlida and Circuitronix met on December 14, 2016. At the meeting, CTX
         agreed to pay increasing prices on shipments that started from March 2017. (The
         logic of calculation was fixed in the meeting minutes.) Until September 2019, BLD’s
         calculation result is US$2,115,927.57. This calculation was set forth in a spread sheet
         sent by Tracy Huang to Rishi Kukreja, with amount of US$3,336,902.28. This
         number was brought down due to FIFO to US$2.11 million before litigation was
         commenced. VAT of CCL in Benlida records support this number.




                                                2
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                                      26



   3.     Explain in detail how the amount you claim in Paragraph 437 of the Third Amended
          Complaint as “the invoiced amount” ($11,539,408.36) was calculated.


          Answer:


                                                Currency: USD
                          Cutoff Date               May 31st, 2020

                      Shipment Amount
                     Through Cutoff Date         US$156,031,184.88

                      Payment Amount
                                                 US$140,303,257.65
                     Through Cutoff Date

                    Debit notes BLD/ROK
                                                   US$4,188,518.87
                           Confirm 1

                      Balance Amount              US$11,539,408.36

                    Per agreement, not recognized as payment for shipments is
                    U$742,000 which is out of payment amount on above sheet.

                                         ITEM                            AMOUNT

                    BLD received OSP chemical payment                US$235,000.00

                    ROK received OSP chemical payment                US$142,000.00

                    BLD received Immersion tin investment
                                                                     US$80,000.00
                    payment

                    ROK received Immersion tin investment
                                                                     US$60,000.00
                    payment

                    BLD received fit up cost                         US$25,000.00

                    wire transfer by Tracy                           US$200,000.00

                    TOTAL                                            US$742,000.00




   1
    Benlida / ROK did not agree to all of the debit notes that Circuitronix sent. Lead time penalties
   and air freight claims were and are in dispute.



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                                      26



   4.    In Paragraph 443 of the Third Amended Complaint, you allege that “Circuitroinix failed
         to make full payment for such goods.” With respect to this allegation, identify any
         invoice as to which BLD alleges partial payment was received.


         Answer: Through the end of May 2020, partial payment US$11,569.69 was received
         on INV# BLDCCT-HK181218001.




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                                      26




   5.    State the key facts which, in your view, support your allegation in Paragraph 444 of the
         Third Amended Complaint that the “lead-time penalty” discussed was “unconsented-to,”
         including the date, location and participants at any meeting and/or written
         communications evidencing your lack of consent to lead-time penalties.


         Answer: In an email sent by Tracy Huang to Rishi Kukreja on November 13/14,
         2019, entitled “Lead Time Penalty for Benlida for May 2019 --Benlida feedback,”
         Ms. Huang stated clearly that Benlida did not agree to the lead-time penalty amount
         claimed by Circuitronix. In the email Ms. Huang also included several attachments
         setting forth the parties’ calculations / agreements for the period of September 2015
         to October 2017.




   6.    To the extent you agree that you incurred any lead-time penalties as of the date that, as
         you allege in Paragraph 444 of the Third Amended Complaint, “Defendant Circuitronix
         alleged that … Benlida owed it a total of $6,561,044.21,” state the amount of lead-time
         penalties that had accrued as of that date by your own calculations.


         Answer: Using the logic mentioned above, the amount of lead-time penalties that
         had accrued was US$1,133,106 as to the order period of February 2016 to May
         2019.



   7.    With respect to your allegation in Paragraph 455 of the Third Amended Complaint that
         “Defendant Circuitronix has failed to remit payment of the debt although it has been in
         possession of the invoices,” identify whether the allegation refers to all of the invoices in
         the Third Amended Complaint or, if a subset of the invoices, the paragraph numbers of
         the Third Amended Complaint that comprise that subset.


         Answer: Through the end of May 2020, and based upon the FIFO method set forth
         in answer to question 1, the invoices stated in the Third Amended Complaint
         remain unpaid.




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   8.    Identify who served as the primary points of contact at Benlida and at Sinosure between
         those two companies, between January 1, 2016 and the present, concerning business with
         Circuitronix, LLC, and provide those individuals’ mailing addresses, email addresses,
         and telephone numbers. For the Benlida employees, state whether they are still employed
         with Benlida (or ROK Printed Circuit Co. Ltd.), and if not, provide their last known
         contact information.


         Answer: Benlida’s main contact with Sinosure was Ms. Chen Zhanjiao,
         accounting@benlida.com, 86-750-3962065. Ms. Chen is still employed by Benlida.


         Sinosure’s main current contact with Benlida is Lyndon Liu （刘卓麟）, China
         Export & Credit Insurance Corportaion Guangdong Branch Indemnity &
         Collection Department, Collection Office, Vice Manager, Phone: 13533039891,
         liuzhuolin@sinosure.com.cn (Note: the prior Sinosure contact is no longer employed
         by Sinosure, and the address and other contact information for the former employee
         is unknown).




   9.    With respect to each contract or agreement that you had with Sinosure between January
         1, 2016 to the present that applied or applies to your business with Circuitronix, LLC,
         identify the provision or provisions that you were relying upon when you insisted that
         Circuitronix, LLC make a 120% prepayment of the order value before you would release
         the orders.


         Answer: Please refer to email “2020.02.24回复_ 赔后溢价出货申请.eml”. Sinosure
         required minimum 10% premium of shipment amount.




   10.   Identify all communications you had with Sinosure between January 1, 2016 to the
         present in which you informed Sinosure that Circuitronix, LLC was indebted to you.
                                                7
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                                      26




         Answer: (refer to September 18, 2019 email:
         “两厂自合作至2019.08应收CCT余额（扣款按所有扣款单金额）(2)(1).eml” Upon
         information and belief, all email communications between Benlida and Sinosure
         have been disclosed).




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   11.   Identify all communications you had with any bank or other financial institution between
         January 1, 2016 to the present concerning the subject of any debt you owe or owed
         Circuitronix, LLC or any debt Circuitronix, LLC owed or owes you.


         Answer: Benlida does not include Sinosure in response to this question. While
         Benlida did report to banks and financial institutions debts generally owed to
         Benlida, it did not make any representations to any banks or financial institutions
         about Circuitronix’s debts owed to Benlida.




   12.   Identify all communications involving Huang Xiangjiang, Tracy Huang, Huang Hanchao,
         Yukun Wu, or Chen Zhanjiao, that you had with any of the following companies between
         January 1, 2016 and the present and the subject-matters of the communications:

            a.   Shenzhen Kinwong Electronic Co., Ltd.;
            b.   Kinwong Electronic (Hong Kong) Co., Ltd.
            c.   Super Tech Circuit Board Co., Ltd.;
            d.   Winglung
            e.   Guangdong Kingshine


         Answer: There were no written communications with a-d, but there were oral
         communications with a, b, and e. There were no direct communications, written or
         oral with c or d.


         Topics of communications with a and b: They reached out to Benlida to speak about
         its own litigation with Circuitronix. Douglas Huang and Roger Wu met with them.


         Topic of communications with e: Mr. Huang met with them to discussion market
         conditions for PCBs.




   13.   Identify all communications you had with any Circuitronix Customer (as defined in § 1.5
         of the Manufacturing Agreement) between January 1, 2016 and the present (April 23,
                                                9
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         2022), with the exception of communications related to Customers’ coordinated and
         Circuitronix-authorized site visits to Benlida’s factory.


         Answer: None that Benlida can recall.




   14.   From the date of the earliest invoice identified in your Third Amended Complaint to July
         1, 2020, state how much money Benlida was paid by Circuitronix, LLC and the start date
         you use for calculating the figure in your answer.




         Answer: Earliest date of invoice is Dec 18, 2018. From December 18 to 23, no
         payment received from Circuitronix US or Circuitronix HKG, so the earliest date of
         payment is December 24, 2018.


                                                        SHIPMENT
                 ITEM         PAYMENT AMOUNT                                  NOTE
                                                         AMOUNT




            CTX-US paid to                                               Includes
                                US$12,240,285.87      US$10,058,195.91
              BLD+ROK                                                    US$100,000
                                                                         received on
                                                                         OSP chemical
                                                                         payment



           CTX-HKG paid to       US$2,756,127.94       US$6,372,566.07
             BLD+ROK

                TOTAL           US$14,996,413.81      US$16,430,761.98



         Through the end of December 2018, Circuitronix owed Benlida US$10,486,885.95 as
         receivables, with US$5,792,229.02 overdue as of the end of December 2018.




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   15.   For the payments you considered in your answer to Interrogatory No. 16, above, identify
         any communications from you to Circuitronix, LLC that explain how that money was
         credited by Benlida.


         Answer: During the above period, monthly statements were sent, and since
         February 2020, the statements have included the payments received during that
         month and the total amount of the receivable.




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   16.   From January 1, 2016 to July 1, 2020, how much money was Benlida paid by
         Circuitronix, LLC?


         Answer:


                             PAYMENT AMOUNT                      SHIPMENT     AMOUNT

                           BLD                ROK                BLD                ROK

    CTX-US PAID
                    US$50,166,450.79    US$21,466,823.05   US$49,556,967.46   US$17,972,275.97

    CTX-HKG PAID                         US$1,360,000.00
                    US$17,039,336.45                       US$26,106,620.62    US$2,084,308.41

    TOTAL
                    US$67,205,787.24    US$22,826,823.05   US$75,663,588.08   US$20,056,584.38

    BLD+ROK
                                        US$90,032,610.29                      US$95,720,172.46
    TOTAL



         Through the end of December 2015, CTX owed BLD US$6,510,527.92 as
         receivables, with $282757.74 overdue as of the end of 2015


         Note:
         1) BLD payment amount includes OSP chemical payment US$235,000
         2) ROK payment amount includes OSP chemical payment US$377,000 + wire
         transfer by Tracy Huang account US$200,000.




   17.   For the payments you considered in your answer to Interrogatory No. 16, above, identify
         any communications from you to Circuitronix, LLC that explain how that money was
         credited by Benlida.


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         Answer: During above period, monthly statements were sent. For the months of
         January 2016 to December 2017, emails show the payments received, each month
         and the total amount of receivables. For the months of February 2020 to July 2020,
         emails show the payments received that month and the total amount of receivable.




   18.   Who at Benlida has been responsible for credit insurance between January 1, 2016 and
         the present? Provide those individuals’ mailing addresses, email addresses, and
         telephone numbers.


         Answer: See answer to question 8 above.




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   19.    Identify all notices from the customs authority of China and tax department of China
          between January 1, 2016 and the present received by Benlida and/or ROK Printed Circuit
          Co. Ltd. stating that either company was in default.


          Answer: The tax refunds were withdrawn according to the regulations, but these
          actions were handled by the tax department, and there were no specific notifications
          or certifications for these actions.




   20.    For each claim Benlida made upon China Export & Credit Insurance Corporation (a/k/a
          Sinosure), between 2016 through 2021, for alleged losses arising from Benlida’s business
          with Circuitronix, LLC, identify the amount of money Benlida sought.

          Answer: US$7.144 million.




   I, Tracy Huang, state under penalty of perjury, pursuant to 28 U.S.C. 1746 this 24th day of
   May 2023, that the above responses to Circuitronix’s interrogatories are true and correct.




          ________________________________
                                                      Tracy Huang




   Dated: May 24, 2023
          New York, New York

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                                                     MAZZOLA LINDSTROM LLP
                                                     Attorneys for Plaintiff Benlida


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   Service via email upon counsel for defendant Circuitronix LLC




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


                         CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD., et al.

   Plaintiffs,
   v.
   CIRCUITRONIX LLC,
   Defendant,
   ____________________________________/

                 Benlida’s Revised Response to Interrogatory 14

      14. From the date of the earliest invoice identified in your Third Amended Complaint to July
          1, 2020, state how much money Benlida was paid by Circuitronix, LLC and the start date
          you use for calculating the figure in your answer.
          Answer: Earliest date of invoice is Dec 18, 2018. From December 18 to 23, no
          payment was received from Circuitronix US or Circuitronix HKG, so the earliest
          date of payment is December 24, 2018.
                                                SHIPMENT
         ITEM         PAYMENT AMOUNT                                           NOTE
                                                 AMOUNT

    CTX-US paid to                                               Includes US$100,000 received
                        US$12,240,285.87      US$10,058,195.91
        BLD                                                      on OSP chemical payment



    CTX-HKG paid to      US$2,756,127.94       US$6,372,566.07
         BLD

        TOTAL           US$14,996,413.81      US$16,430,761.98



          Through the end of December 2018, Circuitronix owed Benlida US$10,486,885.95 as
          receivables, with US$5,792,229.02 overdue as of the end of December 2018.




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   I, Tracy Huang, state under penalty of perjury, pursuant to 28 U.S.C. 1746 this 8th day of
   June 2023, that the above responses to Circuitronix’s interrogatory 14 is true and correct.




                                                     ________________________________
                                                     Tracy Huang




   Dated: June 8, 2023
          New York, New York

                                                     MAZZOLA LINDSTROM LLP
                                                     Attorneys for Plaintiff Benlida

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   Service via email upon counsel for defendant Circuitronix LLC




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